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                      IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                                CENTRAL DIVISION

TAMARA LEIGH LUCUS                                                               PLAINTIFF

v.                                  NO. 4:23-cv-0450-KGB

JOHN S. STOBAUGH, JOHN S. STOBAUGH, P.A.,
AND SCHNIPPER, BRITTON & STOBAUGH                                              DEFENDANTS


                               JOINT RULE 26(F) REPORT

       Plaintiff, Tamara Leigh Lucus (“TL”) and Defendants, John S. Stobaugh, John S.

Stobaugh, P.A., and Schnipper, Britton & Stobaugh (“JSS”), for their joint rule 26(f)

report, state:

       (1)   Any changes in timing, form, or requirements of mandatory disclosures

             under Fed. R. Civ. P. 26 (a).

             Response: No.

       (2)   Date when mandatory disclosures were or will be made.

             Response: December 28, 2023

       (3)   Subjects on which discovery may be needed.

             Response: Plaintiff contends that all emails and texts (“E-documents”) between

             the Defendants and Plaintiff, or pertaining to her case in any way during the course

             of the Defendants’ (“the firm’s) representation of her or thereafter constitute

             “correspondence” for purposes of producing the client file. These should begin with

             Plaintiff’s first contact with the firm and end with the last E-document relating in

             any way to her or her case. Any in-house documents between Stobaugh, and any



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      other firm members related to the case should be included. Defendant will not be

      required to produce any documents that are protected by attorney-client privilege.

      The parties believe they will be able to agree as to which documents are privileged.

      If not, the parties will submit that issue to the Court.

              Plaintiff contends that the majority of these E-docs can be provided now in

      PDF form through Artificial Intelligence. Plaintiff can get the remainder later in the

      digital format Plaintiff needs when some minor E-discovery takes place.

      Plaintiff’s position is that the E-documents noted above are required as a part of the

      firm’s initial disclosures. They are a part of the client file (correspondence).

(4)   Whether any party will likely be requested to disclose or produce

      information from electronic or computer-based media. If so:

      Response: Yes.

      (a)      whether disclosure or production will be limited to data

               reasonably available to the parties in the ordinary course of

               business;

      Response: Yes.

      (b)      the anticipated scope, cost and time required for disclosure or

               production of data beyond what is reasonably available to the

               parties in the ordinary course of business;

      Response: N/A

      (c)      the format and media agreed to by the parties for the production

               of such data as well as agreed procedures for such production;




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      Response: The electronic E-documents should be produced in their native

  format.

      (d)    whether reasonable measures have been taken to preserve

             potentially discoverable data from alteration or destruction in

             the ordinary course of business or otherwise;

      Response: Plaintiff does not know.

      (e)    other problems which the parties anticipate may arise in

             connection with electronic or computer-based discovery.

      Response: None.

(5)   Date by which discovery should be completed.

      Response: June 15, 2024.

(6)   Any needed changes in limitations imposed by the Federal Rules of

      Civil Procedure.

      Response: None.

(7)   Any orders, e.g. protective orders, which should be entered.

      Response: None.

(8)   Any objections to initial disclosures on the ground that mandatory

      disclosures are not appropriate in the circumstances of the action.

      Response: None.

(9)   Any objections to the proposed trial date.

      Response: The parties have no objections to Court’s proposed trial date –

      July 29 – August 1, 2024.




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(10) Proposed deadline for joining other parties and amending the

     pleadings.

     Response: The parties have no issue with the Court’s proposed deadline of

     February 5, 2024.

(11) Proposed deadline for completing discovery. (Note: In the typical case,

     the deadline for completing discovery should be no later than sixty (60)

     days before trial.)

     Response: The parties have no issue with the Court’s proposed discovery

     deadline of May 15, 2024.

(12) Proposed deadline for filing motions other than motions for class

     certification. (Note: In the typical case, the deadline for filing motions

     should be no later than sixty (60) days before trial.)

     Response: The parties have no issue with the Court’s proposed deadline for

     filing motions of May 30, 2024.

(13) Class certification: In the case of a class action complaint, the

     proposed deadline for the parties to file a motion for class

     certification. (Note: In the typical case, the deadline for filing motions

     for class certification should be no later than ninety (90) days after the

     Fed. R. Civ. P. 26(f) conference.)

     Response: N/A.




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                           Respectfully submitted,



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